Roland B. Durocher
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HARTEllUS, DUROCHER & WINTER, P.C. 	                                                 JUL 1 f 2018
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                 MONTANA EIGHTH JUDICIAL DISTRICT COURT, 

                            CASCADE COUNTY 



Curtis Beck,
                                              Cause No. 

                                                          ODY· 18- 0305
                 Plaintiffs, 

                                                            JOHN 	W. PAI~KtH
                        v. 	                   C-\J -\'8'Q3-G F· Bmnl
                                              COMPLAINT
Allstate Fire and Casualty
Insurance Co., and Does 1-5,

                 Defendants.


COMES NOW the Plaintiff, and for his Complaint, allege as follows:

1. 	   On or about August 15, 20M, Plaintiff Curtis Beck (Curtis) was

       driving a vehicle on US Highway 312 in Yellowstone County. As

       Curtis slowed his vehicle to turn, a vehicle driven by Garrett Dan

        Hauge hit Curtis's vehicle from behind.                   l


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2. 	    Hauge was the sole cause of the collision.

3. 	   As a result of the collision, Curtis was injured, and has incurred

       general and special damages.

4. 	   Curtis was not a cause of the collision, his injuries, or his damages.

5. 	   Garrett Dan Hauge was insured at the time of the collision. His

        liability insurer paid the per person limit of liability insurance coverage

       to Curtis, and the coverage has been exhausted. Hauge was

        released from liability with the permission and agreement of

        Defendant Allstate Fire and Casualty Insurance Company (Allstate).

6. 	   At the time of the collision, Curtis was covered by an underinsured

        motorist (UIM) insurance policy issued by Defendant Allstate. Curtis

       lives in Cascade County, and the insurance contract is to be

       performed in Cascade County.

7. 	   Hauge was under insured, therefore Curtis is entitled to have the

       balance of his damages paid by Allstate, up to the limits of his UIM

       coverage.

8. 	   Despite demand for payment, Allstate has not paid any damages

       under the UIM coverage.

9. 	   Does 1-5 are persons or entities not yet known to Plaintiffs' who are


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        or may be legally responsible for Plaintiffs' damages.

WHEREFORE, Plaintiffs pray:

1. 	    For an award of special and general damages in excess of Hauge's

        liability limits;

2. 	    For attorney fees;

3. 	    For costs of suit; and,

4. 	    For all other relief the Court deems appropriate.

        Dated t h i $ a y of        May,~.... Q.~
                                     (41/2---­
                                  ?6land B. Durocher




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